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Atlanta United States str-atl302 OPEN Shared IP OQ Ga
Atlanta United States vpn-at4 OPEN Static IP 65 Se
Basel Switzerland vpn-orl OPEN Static IP 53 ae
Buffalo United States vpn-fnl Per Dynamic IP 323 EX
Buffalo United States str-buf101 PREP Shared IP 12 Ga
Buffalo United States vpn-fn2 OPEN Static IP 51 ae
Canterbury United Kingdom str-mse201 PPIP Shared IP 96 Gia
Canterbury United Kingdom str-mse101 PPTP Shared IP 85 Ge,
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